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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                    DELTA DIVISION

  STATE OF KANSAS,                               §
  ETAL.                                          §
                                                 §
          Plaintiffs,                             §
                                                  §
  v.                                             §
                                                 §g Civil Action No. 2:24-cv-88-JM
  MERRICK GARLAND,
  ETAL.                                          §
                                                 §
          Defendants.                            §
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                           DECLARATION OF DAVID FRANCIS


I, David Francis, declare as follows:

   1, I m Manager for the Business Tax Services Division at the Oklahoma Ta

       Commission. I am over the age of 18, and I have personal knowledge of the facts

       contained in this declaration. I could competently testify as to the contents of this

       Declaration if called upon to do so.

   2. I have been em loyed with the Oklahoma Tax Com ission for twenty-seven (27) years.

   3. Asa result of my current duties, I am familiar with the state s tax code and how it relates

       to gun sales.
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   4. Under Oklahoma Code 68 O.S. § 1354, the state taxes the sale of firearms, including

         those occurring at gun shows. See 68 O.S. § 1364.2.

   5. Under Oklahoma Code 68 O.S. § 1402 and 68 O.S. § 1364.2, the state ta es the online

         sale of firearms that occur where the buyer is a resident of Oklahoma and the firearm is

         Stored and/or used in the State of Oklahoma.

   6. If there is a decrease in gun sales there will naturally be a decrease in state tax revenue.

   7. Based on the information available, the Fin l Rule in this case is expected to decrease the

         sale of firearms by unlicensed firearms de lers. 89 Fed. Reg. 29054.

   8. If that were the case, it is likely that Oklahoma would see a corresponding decrease in

         sales tax revenue.

   9. Further the declarant sayeth naught.

I declare under penalty of perjury under the laws of the United States of America and the State of

Oklahoma that the foregoing is true and correct.


                        Dated this 0? day of 2024.
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Subscribed and sworn to before me this day of             \j                 2024, in the County of
Oklahoma, State of Oklahoma.




(seal)




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